                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In the Matter of:                         )
                                          )
ANTHONY LEE PIERCE                        )                   CASE NO. 11-83381-CRJ13
SSN: XXX-XX-3914                          )                   CHAPTER 13
                                          )
PEGGY HARBIN PIERCE                       )
SSN: XXX-XX-6237                          )
                                          )
Debtors.                                  )
__________________________________________)

                       APPLICATION BY DEBTORS FOR
                APPROVAL OF EMPLOYMENT OF SPECIAL COUNSEL

       COME NOW, Tony Lee Pierce and Peggy Harbin Pierce, (“Debtors”) and hereby file

this Application for Approval of Employment of Special Counsel in accordance with Section

327(e) of the United States Bankruptcy Code, and say as follows:

1.     On September 28, 2011, Debtors filed for voluntary relief under Chapter 13 of Title 11 in

       the United States Bankruptcy Court in this district and division.

2.     Pursuant to this application, Debtors seeks to employ James H. Richardson and the law

       firm Richardson Maples, P.C., as special counsel.

4.     The professional services, which James H. Richardson is to render representation of the

       Debtors in a claim against Pascual Bello Munoz, Katherine Balcacer, Alfa Ins. Co..

5.     Pre-petition Richardson Maples, P.C. does not have any connection with the Debtors,

       their creditors, any other party in interest, or their respective attorneys in this case except

       for the foregoing representation.

6.     In the opinion of the Debtors, the employment of Mr. Richardson and the law firm

       Richardson Maples, P.C. is in the best interest of the estate for the reason that he has full




Case 11-83381-CRJ13          Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07                  Desc
                               Main Document     Page 1 of 7
       knowledge of this type of lawsuit and as he has considerable experience in matters of this

       character. The Debtors believe that this attorney and this law firm is well-qualified to act

       as counsel to represent them in this proceeding.

7.     Subject to this Court’s approval, Debtors have agreed to pay James H. Richardson and

       the law firm Richardson Maples, P.C., based upon a legal services contract, a recovery

       fee of one-third (1/3) of all sums recovered on account of the claim.

       WHEREFORE, PREMISES CONSIDERED, Debtors pray that they be authorized to

employ and appoint James H. Richardson and the law firm Richardson Maples, P.C., as Special

Counsel to the Debtors for the purposes and under the arrangements as herein above described,

and that this Honorable Court enter its order approving said employment and the terms of

payment thereof as described in the preceding paragraphs of this application, and that the

Debtors have such other and further relief as is just and proper.


       Respectfully submitted this 20th day of October, 2015.


                                                      /s/ Kevin D. Heard
                                                      Kevin D. Heard
                                                      Attorney for Debtors
                                                      HEARD, ARY & DUARO, LLC
                                                      303 Williams Avenue
                                                      Park Plaza, Suite 921
                                                      Huntsville, Alabama 35801
                                                      Tel: 256-535-0817
                                                      Fax: 256-535-0818
                                                      kheard@heardlaw.com




Case 11-83381-CRJ13          Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07               Desc
                               Main Document     Page 2 of 7
                               CERTIFICATE OF SERVICE

        I hereby certify that I have served a true and correct copy of the Application by Debtors
for Approval of Employment of Special Counsel on the parties listed below and on the
attached matrix by depositing the same in the United States Mail, postage prepaid and properly
addressed, via electronic mail at the e-mail address below, unless the party being served is a
registered participant in the CM/ECF System for the United States Bankruptcy Court for the
Northern District of Alabama, service has been made by a “Notice of Electronic Filing” pursuant
to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s Administrative Procedures
as indicated below, on the 20th day of October, 2015.

Notice will be electronically mailed to:

Richard Blythe, Bankruptcy Administrator
Richard_Blythe@alnba.uscourts.gov, courmaildec@alnba.uscourts.gov

Michael Ford
ecf@ch13decatur.com

Taylor Patrick Brooks on behalf of Trustee Taylor Patrick Brooks
tpb@lfsp.com, cashwell@lanierford.com

Jeffrey L Cook on behalf of Creditor Redstone Federal Credit Union
jcook7117@yahoo.com

C Howard Grisham on behalf of Creditor Redstone Federal Credit Union
pcornelius@comcast.net

Diane C Murray on behalf of Creditor WELLS FARGO BANK, N.A.
ndbankruptcy@sirote.com

Richard E. O'Neal on behalf of Creditor USDA-FSA
USAALN.BANKRUPTCY@usdoj.gov

Richard E. O'Neal on behalf of Defendant USDA/FSA
USAALN.BANKRUPTCY@usdoj.gov

S. Dagnal Rowe on behalf of Creditor Deere & Company
drowe@wilmerlee.com, dbranche@wilmerlee.com




Case 11-83381-CRJ13         Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07               Desc
                              Main Document     Page 3 of 7
Notice will not be electronically mailed to:

James H. Richardson, Atty.
Richardson Maples, P.C.
P.O. Box 18667
Huntsville, AL 35804-8667

Alfa Ins. Co.
415-E Church Street
Suite 8
Huntsville, AL 35801

Pascual Bello Munoz
2911 Holiday Drive
Huntsville, AL 35805

Katherine Balcacer
23909 Miller Road
Athens, AL 35613

Bank of America, N.A. c/o Prober & Raphael, A Law Corporation
20750 Ventura Blvd, Suite 100
Woodland Hills, CA 91364

PRA Receivables Management, LLC
PO Box 41067
Norfolk, VA 23541

Real Time Resolutions Inc.
1750 Regal Row Ste 120
PO Box 36655
Dallas, TX 75235

All parties on the attached matrix were served via U.S. Mail.


                                                 /s/ Kevin D. Heard
                                                 Kevin D. Heard
                                                 Attorney for Debtors




Case 11-83381-CRJ13          Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07   Desc
                               Main Document     Page 4 of 7
Label Matrix for local noticing        Bank of America, N.A. c/o Prober & Raphael,   Deere & Company
1126-8                                 20750 Ventura Blvd, Suite 100                 S. Dagnal Rowe
Case 11-83381-CRJ13                    Woodland Hills, CA 91364-6207                 Wilmer & Lee, P.A.
NORTHERN DISTRICT OF ALABAMA                                                         P. O. Box 2168
Decatur                                                                              Huntsville, AL 35804-2168
Tue Oct 20 09:59:54 CDT 2015
PRA Receivables Management, LLC        (p)REAL TIME RESOLUTIONS INC                  Redstone Federal Credit Union
PO Box 41067                           PO BOX 36655                                  c/o C. Howard Grisham
Norfolk, VA 23541-1067                 DALLAS TX 75235-1655                          Post Office Box 5585
                                                                                     Huntsville, AL 35814-5585


USDA-FSA                               Wells Fargo Home Mortgage                     U. S. Bankruptcy Court
Alabama State FSA Office               c/o Brice, Vander Linden & Wernick, PC        400 Well Street
P.O. Box 235013                        9441 LBJ Freeway, Suite 250                   P. O. Box 2775
Montgomery, AL 36123-5013              Dallas, TX 75243-4640                         Decatur, AL 35602-2775


AMERICAN EXPRESS BANK FSB              American Express                              Bank of America
C/O BECKET AND LEE LLP                 P.O. Box 981535                               P.O. Box 5170
POB 3001                               El Paso, TX 79998-1535                        Simi Valley, CA 93062-5170
MALVERN PA 19355-0701


Bank of America                        Bonner Land and Cattle, Co.                   CANDICA, LLC
P.O. Box 851001                        388 Frank Hereford Rd.                        C O WEINSTEIN AND RILEY, PS
Dallas, TX 75285-1001                  New Market, AL 35761                          2001 WESTERN AVENUE, STE 400
                                                                                     SEATTLE, WA 98121-3132


Capital One, N.A.                      Chase BP                                      Chase Bank USA, N.A.
c/o Creditors Bankruptcy Service       P.O. Box 15298                                PO Box 15145
P.O. Box 740933                        Wilmington, DE 19850-5298                     Wilmington, DE 19850-5145
Dallas, TX 75374-0933


Citgo                                  Deere & Company                               (p)DISCOVER FINANCIAL SERVICES LLC
P.O. Box 6401                          6400 N.W. 86th Street                         PO BOX 3025
Sioux Falls, SD 57117-6401             P. O. Box 6600                                NEW ALBANY OH 43054-3025
                                       Johnston, Iowa 50131-6600


Discover Bank                          (p)BANK OF AMERICA                            Home Depot
DB Servicing Corporation               PO BOX 982238                                 P.O. Box 653000
PO Box 3025                            EL PASO TX 79998-2238                         Dallas, TX 75265-3000
New Albany, OH 43054-3025


JOHN DEERE FINANCIAL                   John Deere Financial                          John Deere Financial, f.s.b, f/k/a
C/O WILMER & LEE                       P.O. Box 6600                                 FPC Financial, f.s.b.
PO BOX 2168                            Johnston, IA 50131-6600                       6400 N.W. 86th Street
HUNTSVILLE, ALABAMA 35804-2168                                                       P.O. Box 6600
                                                                                     Johnston, Iowa 50131-6600

Juniper Card Services                  Kohl’s                                        Lowe’s
P.O. Box 13337                         P.O. Box 2983                                 P.O. Box 530914
Philadelphia, PA 19101-3337            Milwaukee, WI 53201-2983                      Atlanta, GA 30353-0914


                Case 11-83381-CRJ13   Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07                   Desc
                                        Main Document     Page 5 of 7
Madison County Cooperative                           (p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Redstone Federal Credit Union
P.O. Box 68                                          PO BOX 41067                                         220 Wynn Drive
Hazel Green, AL 35750-0068                           NORFOLK VA 23541-1067                                Huntsville, AL 35806



Redstone Federal Credit Union Visa                   THE BANK OF NEW YORK MELLON, et al                   (p)TMX FINANCE LLC FORMERLY TITLEMAX
220 Wynn Drive                                       c/o Bank of America, N.A.                            15 BULL STREET
Huntsville, AL 35893-0001                            Bk. Dept. Mail Stop: CA6-919-01-23                   SUITE 200
                                                     400 National Way                                     SAVANNAH GA 31401-2686
                                                     Simi Valley, CA 93065-6414

Titlemax                                             USDA                                                 USDA/FSA
2710 South Memorial Parkway                          Moulton Service Center                               Operation Office
Huntsville, AL 35801-5631                            13075 Ala. Hwy 157, Ste 3                            P.O. Box 200003
                                                     Moulton, AL 35650-6579                               Saint Louis, MO 63120-0003


Wells Fargo Bank, N.A.                               Wells Fargo Home Mortgage                            Wells Fargo Home Mortgage
Attention: Bankruptcy Department                     Attn: Craig A Edelman                                PO BOX 10335
MAC #D3347-014                                       c/o Brice, Vander Linden & Wernick, PC               Des Moines, IA 50306-0335
3476 Stateview Blvd                                  9441 LBJ Freeway Ste 250
Fort Mill, South Carolina 29715-7203                 Dallas, TX 75243-4640

Wells Fargo Home Mortgage                            Anthony Lee Pierce                                   Kevin D. Heard
PO BOX 660455                                        8754 Moores Mill Road                                Heard Ary, LLC
Dallas, TX 75266-0455                                Meridianville, Al 35759-1404                         303 Williams Avenue SW
                                                                                                          Park Plaza Suite 921
                                                                                                          Huntsville, AL 35801-6084

Michael Ford                                         Peggy Harbin Pierce
Chapter 13 Standing Trustee                          8754 Moores Mill Road
P.O. Box 2388                                        Meridianville, Al 35759-1404
Decatur, AL 35602-2388




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Real Time Resolutions Inc.                           Discover                                             FIA CARD SERVICES, N.A.
1750 Regal Row Ste 120                               P.O. Box 30943                                       PO Box 15102
PO Box 36655                                         Salt Lake City, UT 84130                             Wilmington, DE 19886-5102
Dallas, TX 75235


Portfolio Recovery Associates, LLC                   (d)REAL TIME RESOLUTIONS INC                         (d)Real Time Resolutions, Inc.
PO Box 41067                                         1349 EMPIRE CENTRAL DR STE 150                       1750 Regal Row Suite 120
Norfolk VA 23541                                     PO BOX 36655                                         PO Box 36655
                                                     DALLAS TX 75247                                      Dallas Texas 75235


TitleMax of Alabama, INC. d/b/a TitleMax
Attn: Mary Beth Concran
15 Bull Street, Suite 200
Savannah, GA 31401
(912) 525-2675
                Case 11-83381-CRJ13               Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07                            Desc
                                                    Main Document     Page 6 of 7
                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)WELLS FARGO BANK, N.A.                            End of Label Matrix
                                                     Mailable recipients    46
                                                     Bypassed recipients     1
                                                     Total                  47




                Case 11-83381-CRJ13               Doc 129 Filed 10/20/15 Entered 10/20/15 10:26:07                            Desc
                                                    Main Document     Page 7 of 7
